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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CRAIG R. DOIRON and DAVID C., 5 Aa£¥@]j ° 0 1 5 8 ll'__€AS

PETERSON,
Plaintiffs,

VS.

CITY OF SANTA ANA, DANIEL
BAEK, CREVIER BMW, PENSKE
CORPORATION, PENSKE
AUTOMOTIVE GROUP, INC.,
PENSKE VEHICLE SERVICES, INC.,
JGHN CHOE, and DOES 1 through 10,
inclusiv€,

Defendants.

) COMPLAINT FOR DAMAGES FOR:

l. Violation Of Fourth Amendrnent -

` Unlawful Seizure Of Person;

2. Violation Of Foul“[h Arnendment -
Unlawful Search And Seizure Of
Proper“ry;

3. Violation Of First Amendment -
Violation Of Freedom Of Speech;

4. Violation 01“4th and 14th Arnendment
- Malicious Prosecution;

5. Federal Claim For Failure TO
Property Train And For Failure To
Properly Hire / Fire / Discipline;

6. Monnell Liability for custom, policy
and practice;

7. California State Law Claim F0r
Violation Of Civil Code § 52.1;

8. California False Arrest / False
Imprisonment;

9. California lntentional Infliction Of
Ernotional Distress,

lO.CalifOrniaNegligence.

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11.Civil Extorti()n
JURY TRIAL DEMANDED

COMPLAINT FOR DAMAGES

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COMES NOWPlaintiffs Craig R. Doiron and David C. Peterson and shows this
honorable court the following:

JURISDICTIONAL ALLEGATIONS

l. As this action is brought under 42 U.S.C. § 1983, this court has jurisdiction
over this case under its federal question jurisdiction pursuant to 28 U.S.C. § 1331

2. As the incidents complained of in this action occurred in the City of Santa
Ana, State of California, Within the territorial jurisdiction of this court, Venue properly
lies in this court pursuant to 28 U.S.C. § l39l(b)(2).

3. As Plaintiffs’ claims brought under California state law arise out- of the same
transactions and occurrences, and out of a common nucleus of operative facts as the
Plaintiffs’ federal question claims, this court has jurisdiction over the Plaintiffs’
California State law claims under its supplemental jurisdiction under 28 U.S.C. § l367,
and otherwise pursuant to Mz'ne Workers v. Gibbs.

GENERAL ALLEGATIONS
4. Plaintiff Craig R. Doiron, hereinafter referred to as “DOIRON” or “Plaintiff
DOIRGN”, is a natural person, Who, at all times complained of in this action, resided in
the County of Orange, State of California
5. Plaintiff David C. Peterson, hereinafter referred to as “PETERSON” or
“Plaintiff PETERSON”, is a natural person, Who, at all times complained ofin this

action, resided in the County of Orange, State of California

COMPLAINT FOR DAl\/IAGES
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6. Defendant City of Santa Ana, hereinafter also referred to as “CITY”, is a
municipal entity located in the State of California; within the territorial jurisdiction of this
court.

7. Defendant Daniel Baek hereinafter also referred to as “BAEK”, is, and at all
times complained of herein, was, a City of Santa Ana Police Department Officer, acting
as an individual person under the color of state law, in his individual capacity and was
acting in the course of and within the scope of his employment with defendant CITY.

8. Defendant Penske Corporation is a Delaware Corporation with their corporate
headquarters located in Bloomfield Hills, Michigan, a company that owns, runs and
operates / does business as / under the name Crevier BMW (Hereinafter referred to as
“CREVIER”), Penske Automotive Group, Inc., and Penske Vehicle Services, lnc.

9. Defendant Penske Automotive Groups, Inc., is a Delaware Corporation with
their corporate headquarters located in Bloomfield Hills, Michigan, a corporation that
owns, runs and operates / does business as / under the name Crevier, in Santa Ana,
California.

l0.Defendant Penske Vehicle Services, Inc., is a Delaware Corporation with
their corporate headquarters located in Troy, Michigan, a corporation that owns, runs and

operates / does business as / under the name Crevier, in Santa Ana, Califomia.

COMPLAINT FOR DAMAGES
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ll.Defendant Crevier BMW is a California company that owns, runs and operates /
does business as / under the name Crevier BMW (Hereinafter referred to as “CREVIER”)
in the City of Santa Ana, County of Orange, State of California

12.Defendant John Choe, hereinafter referred to as “CHOE”, is, and at all times
complained of was, an employee of Penske Corporation / Penske Automotive Group, lnc.
/ Penske Autornotive Services and CREVIER. Moreover, at all times complained of
herein, CHOE was acting as an individual person, acting under the color of state law,
pursuant to a conspiracy / joint action / concerted action with the police officer
defendants to this action to deprive the plaintiffs of various federal and state
constitutional rights.

l3. l\/Ioreover7 at all times complained of herein, CHOE was acting in the course of
and within the scope of his employment / agency with Defendants Penske Corporation /
Penske Automotive Group, lnc., Penske Vehicle Services, lnc. and CREVIER.

14. Defendants DOES l through 3, inclusive, are sworn peace officers and / or
police officers and/or deputy sheriffs and/or investigators and/or Special Officers and/or a
dispatchers and/or some other public officer, public official or employee of defendant
CITY and/or otherwise employed by the Santa Ana Police Department, who in some way
committed some or all of the tortious actions (and constitutional violations) complained
of in this action7 and/or are otherwise responsible for and liable to plaintiffs for the acts

complained of in this action, whose identities are, and remain unknown to plaintiffs, who

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will amend their complaint to add and to show the actual names of said DOE defendants
when ascertained by plaintiffs.

15. At all times complained of herein, DOES l through 3, inclusive, were acting
as individual persons acting under the color of state law, pursuant to their authority as
sworn peace officers and/or police officers and/or Special Officers and/or Supervisors
(i.e. Sergeants, Lieutenants, Captains, Commanders, etc.) and/or dispatchers, employed
by the Santa Ana Police Department, and were acting in the course of and within the
scope of their employment with defendant CITY.

l6. Defendants DOES 4 through 7, inclusive, were employees and/or agents
and/or officers and/or managers and/or some other employees, agents or supervisory
personnel of Defendants Penske Corporation, lnc., Penske Automotive Group, Inc.,
Penske Vehicle Services, lnc. and/or CREVIER, and, were acting in the course of and
scope of, their employment / agency with Defendants Penske Corporation, lnc., Penske
Automotive Group, lnc., Penske Vehicle Services, lnc. and/or CREVIER.

l7. At all times complained of here, defendants DOES 4 through 7, inclusive,
were acting as individual persona acting under the color of state law, pursuant to their
acting in conspiratorial, concerted and joint action with defendant police officers BAEK
and DOES l through 3, inclusive, to deprive Plaintiffs of various constitutional rights.

18. Defendants DOES 8 through lO, inclusive, are sworn peace officers and/or

the Chief and/or Assistant Chiefs and/or Commanders and/or Captains and/or Lieutenants

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and/or Sergeants and/or other Supervisory personnel and/or policy making and/or final
policy making officials, employed by the Santa Ana Police Department and/or defendant
City of Santa Ana, who are in some substantial way liable and responsible for, or
otherwise proximately caused and/or contributed to the occurrences complained of by
plaintiff in this action, such as via supervisory liability (i.e. failure to properly supervise,
improperly directing subordinate officers, approving actions of subordinate officers), via
bystander liability (failing to intervene in and stop unlawful actions of their subordinates
and/or other officers), and such as by creating and/or causing the creation of and/or
contributing to the creation of the policies and/or practices and/or customs and/or usages
of the Santa Ana PoliceDepartment for, inter alia,: l) for unlawfully seizing persons; 2)
for falsely arresting and falsely imprisoning persons; 3) for unlawfully seizing property;
4) for extorting persons

l9. At all times complained of herein, DOES 8 through lO, inclusive, were
acting were acting as individual persons acting under the color of state law, pursuant to
their authority as the Chief and/or the Assistant Chief and/or Captains and/or Lieutenants
and/or Sergeants and/or other Supervisory personnel and/or policy making and/or final
policy making officials with the Santa Ana Police Department, and/or some other public
official(s) with defendant CITY, and were acting in the course of and within the scope of

their employment with defendant CITY.

COMPLAINT FOR DAMAGES
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20. At all times complained of herein, defendants DOES 8 through 10, inclusive,
were acting as individual persons under the color of state law; under and pursuant to their
status and authority as peace officers and/or Supervisory peace officers (as described
herein, above and below), and/or policy making peace officers, with the Santa Ana Police
Department and/or otherwise with defendant CITY].

21. In addition to the above and foregoing, defendants BAEK, CHOE and
DOES l through 7, inclusive, acted pursuant to a conspiracy, agreement and
understanding and common plan and scheme to deprive the plaintiffs of their federal
Constitutional and statutory rights, and California constitutional and statutory state law
rights, as complained of in this action.

22. Defendants BAEK, CHOE and DOES l through 7, inclusive, acted in joint
and concerted action to so deprive the plaintiffs of those rights as complained of herein;
all in violation of 42 U.S.C. § 1983, and otherwise in violation of United States
(Constitutional and statutory) law and California (Constitutional and statutory) state law.

23. Said conspiracy / agreement / understanding / plan / scheme / joint action/
concerted action, above-referenced, was a proximate cause of the violation of the

plaintiffs’ federal and state constitutional and statutory rights, as complained of herein.

 

1 Such as a CITY executive officer

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24. Plaintiffsare presently unaware of the identities of DOES l through l(),
inclusive, and will amend their complaint to add and to show the actual names of said
DOE defendants, when ascertained by plaintiffs

FIRST CAUSE ()F ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of Fourth Amendment Rights -
Unlawful / Unreasonable Seizure of Person
(Against Defendants BAEK, CHOE and DOES l through 7, inclusive)

25. Plaintiff hereby realleges and incorporates by reference the allegations set
forth in paragraphs l through 24, inclusive, above, as if set forth in full herein.

26. On June 10, 2015, PETERSON had his vehicle towed to CREVIER.

27. PETERSON and DOIRON arrived at CREVIER along with the vehicle by
tow truck.

28. CREVIER agreed to repair PETERSON’s vehicle and provided PETERSON
with a loaner vehicle.

29. PETERSGN signed for the loaner vehicle. All paper work with CREVIER
was done by PETERSON. DOIRON never entered into a contractual agreement with
CREVIER of any kind.

30. A few weeks later, CREVIER called PETERSON and informed him that his

vehicle was ready, but it needed to be towed from away, as it would not start.

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31. DOIRON spoke with the representative from CREVIER and informed the
representative that he and PETERSON would pick up the vehicle after all the repairs
were completed

32. On September 12, 2015, PETERSON and DOIRON were at the Sandman
Hotel at 201l East lSt Street, Santa Ana, California. On that date, there was a knock at the
door and DOIRON answered the door.

33. When DOIRON opened the door, BAEK as at the door and asked if
DOIRON was “Craig.”

34. DOIRON stated that he was “CRAIG.”

35. BAEK then ordered DOIRON out of the room and told DOIRON to place
his hands behind his back because he was under arrest for grand theft auto and for
probation violation.”

36. DOIRON complied but told BAEK that there must have been a mistake.

37. BAEK walked DOIR()N out to the parking lot where CHOE and another
CREVIER employee, DOE 4, were standing BAEK then placed DOIRON in the back of
a Santa Ana Police Department patrol vehicle.

38. While still in the parking lot, BAEK pulled DOIRGN out ofthe vehicle.
BAEK told DOIRON that he was under arrest for stealing the CREVIER loaner vehicle.

39. DOIRON told BAEK that the vehicle was a loaner vehicle which was loaned

to PETERSON while CREVIER repaired his vehicle

COl\/IPLAINT FOR DAMAGES
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40. DOIRON told BAEK that PETERSON was inside the motel room.

41. BAEK placed DOIRON back into the patrol vehicle and walked towards the
motel room.

42. BAEK returned to the patrol vehicle and told DOIRON that he is going to be
arrested for a felony. BAEK told DOIRON that he will spend at least a month in jail and
that bail will cost a minimum of $5,000. BAEK then told DOIRON that he (DOIRON)
will then need to spend a minimum of $2,500 on an attorney who will only get DGIRON
a deal for less jail time and that DOIRON will have a felony record for the rest of his life.

43. DOIRON again explained to BAEK that he has no connection to the loaner
vehicle. The agreement for the vehicle was between PETERSON and CREVIER.

l 44. BAEK then walked to CHOE and DOES 4 through 7, inclusive. BAEK,
CHOE and DOES 4 through 7, inclusive, spoke for a few minutes before BAEK returned
to DOIRON.

45. BAEK asked DOIR()N if DOIRON could pay the CREVIER bill. BAEK
told DOIRON that if he paid the bill, he would not be arrested

46. By this time CHOE and DOES 4 through 7, inclusive, were standing near
BAEK and DOIRON. DOIRON asked CHOE ifthe vehicle was repaired CHOE said
that the vehicle was repaired

47. DOIRON then told BAEK that he has no choice but to pay the bill.

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48. BAEK took DOIRON to the motel room where DOIRON retrieved the keys
to the loaner vehicle and approximately $ l ,500 cash.

49. BAEK then took DOIRON back to the patrol vehicle and they drove to
CREVIER. DOES 4 through 7, inclusive, drove the loaner vehicle back to CREVIER.

50. When BAEK and DOIRON arrived at CREVIER, BAEK took DOIRON out
of the patrol vehicle, grabbed DOIRON by the arm and walked him to CHOE’s office.

51. CHOE entered the office a few minutes after DOIRON and BAEK had sat
down in CHOE’s office.

52. CHOE printed out a bill. The bill stated that the vehicle was not safe to drive
away and that CREVIER suggested that the vehicle be towed away.

53. DOIRON asked why he had to pay the bill for a vehicle that did not belong
to him and was not repaired

54. BAEK again told DOIRON that if he did not pay the bill, he would be
arrested for a felony.

55. DOIRON told CHOE and BAEK that he only had $l,500 on him so he
would need to come back with the balance. BAEK told DOIRON that he better pay the
balance because he (BAEK) did not want to get called back there, and if he was,
DOlRON and PETERSON would be arrested for a felony.

56. DOIRON paid the 81,500 and was released from custody. DOIRON then

walked several miles back to the motel.

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57. On September 15, 2015, DOIRON went back to CREVIER and demanded a
receipt for the $1,500 but no one would give him one.

58. On September 21, 2015, BAEK and DOES 1 through 3, inclusive, returned
to DOIRON’s motel and arrested DOIRON.

59. BAEK claimed that there was a three year old arrest warrant for DOIRON
for possession of cocaine. BAEK never produced evidence of the warrant.

60. DOIRON was booked at the Orange County Men’s Central Jail where he
would spend the next three days DOIRON was eventually bailed out after paying $3,500.

61. DOIRON was given»a notice to appear at the Los Angeles Superior Court -
Airport Division.

62. DOIRON appeared at the Los Angeles Superior Court - Airport Division.
DOIRON appeared at the courtroom on the date he was ordered to appear, but his case
was never called At the end of day, DOIRON approached the clerk and commissioner
and stated that his case was never called The commissioner stated that the case was
called and that a $75,000 bench warrant was issued, notwithstanding the fact that
DOIRON was in the courtroom for the entire day. DOIRON was told to come back the
next day.

63. The following date, DOIRON appeared at the Los Angeles Superior Court -

Airport Division. DOIRON was told that he had unresolved traffic tickets from Beverly

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Hills from approximately ten years earlier. DOIRON told the court that he was able to
prove that those citations had been resolve.

64. DOIRON went back to court a few weeks later and showed the Court that
the cases related to the traffic citations were resolved and the cases were closed

65. Accordingly, the Court “dismissed” the action.

66.As complained of herein above, none of the defendants to this action had a
warrant for DOIRON’s arrest, nor probable cause to believe that DOIRON had
committed a crime, nor reasonable suspicion that DOIRON was a danger to anyone or
anything, nor even a reasonable suspicion of criminality afoot by DOIRON.

67. Accordingly, the seizure of DOIRON by Defendants BAEK, CHGE and
DOES 1 through 7, inclusive, by use of forceand extortion constituted an unlawful and
unreasonable seizure of DOIRON, in violation of his rights under the Fourth Amendment
to the United States Constitution.

68. As a direct and proximate result of the actions of Defendants BAEK, CHOE
and DOES 1 through 7, inclusive, as complained of herein, DOIR()N: 1) was
substantially physically, mentally and emotionally injured; 2) incurred medical and
psychological costs7 bills and expenses and 3) incurred other special and general damages
and expenses in an amount to be proven at trial which is in excess of $5,000,000.00.

69. The actions by said defendants were committed maliciously, oppressively

and in reckless disregard of DOIRON’s constitutional rights, sufficient for an award of

COMPLAINT FOR DAMAGES
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punitive / exemplary damages against all defendants and each of them, save for
Defendant CITY, in an amount to be proven at trial which is in excess of $5,000,000.00.
SECOND CAUSE OF ACTION
[VIOLATION OF 42 U.S.C. § 1983]
Violation Of Fourth Amendment Rights
Unreasonable / Unlawful Search and Seizure of Property
(Against DefendantsBAEK, CHOE and DOES 1 through 7, inclusive)

70. Plaintiffs hereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 69, inclusive, above, as if set forth in full herein.

71. The actions of defendants BAEK, CHOE, and DOES 1 to 7, inclusive,
complained of in this action in seizing and extorting the Plaintiffs’ property constituted
an unlawful and unreasonable seizure of the Plaintiffs’property in the absence of a
warrant, consent, an emergency or exigency, in violation of the Plaintiffs7 rights to be
free from such and search and seizure of their property under the Fourth Amendment to
the United States Constitution.

72. As a direct and proximate result of the actions of Defendants BAEKj CH()E
and DOES 1 to 7, inclusive, Plaintiffswere : 1) substantially physically, mentally and
emotionally injured; 2) incurred medical and psychological costs, bills and expenses, 3)
incurred lost wages and profits, and 4) suffered terrible physical injury, pain and
suffering, as well as mental and emotional pain and suffering, and 5) suffered / is

suffering lost wages and profits; all in an amount to be proven at trial; in excess of

$5,000,000.()0.

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73. The actions of said defendants, and each of them, as complained of herein,
were committed maliciously, oppressively and in reckless disregard of Plaintiffs’
constitutional rights, sufficient for an award of punitive / exemplary damages against said
defendants in an amount to be proven at trial, in excess of $5,000,000.00, save CITY.

THIRD CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
Violation of First Amendment Rights - Freedom of Speech
(Against Defendants BAEK, CHOE and DOES 1 through 7, inclusive)

74. Plaintiffs hereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 73, inclusive, above, as if set forth in full herein.

75. A substantial or motivating factor in the decisions of the various defendants
to take the adverse actions against plaintiffs as complained of in this action, was
DOIRON’sexercise of his right to freedom of speech under the First Amendment to the
United States Constitution, in protesting the unlawful conduct of the defendants and to
petition the government for redress

76. Moreover, said defendants would not have taken said adverse actions against
the Plaintiffs, had Plaintiff DOIRONnot exercised his right to freedom of speech under
the First Amendment to the United States Constitution.

77. As a direct and proximate result of said adverse actions taken against said

DOIRON by said defendants as described above, plaintiff suffered serious bodily injury,

severe mental and emotional distress, medical and psychological costs and expenses, lost

COMPLAINT FOR DAMAGES
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wages / profits attorney’s fees and other special damages all in an amount to be proven
at trial, in excess of $5,000,000.()().

78. The actions of defendants and each of them, as complained of herein, were
done maliciously and in reckless disregard of plaintiffs constitutional rights sufficient for
an award of punitive / exemplary damages against said defendants save defendantCITY,
in an amount to be proven at trial, in excess of $5,000,000.00, save CITY.

FOURTH CAUSE OF ACTION
MALICIOUS PROSECUTION
VIOLATION OF 42 U.S.C. § 1983
Violation Of Fourth And Fourteenth Amendment Right
(Against Defendants BAEK, CHOE and DOES 1 through 7, inclusive)

79. Plaintiffshereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 78, inclusive, above, as if set forth in full herein.

80. As shown above, BAEK, CHOE, and DOES 1 to 7, inclusive, falsely
arrested DOIRON.

81. Also as shown above, BAEK, CHOE, and DOES l to 7, inclusive, knew that
DOIRON had not committed a crime, and, nonetheless authored bogus police reports
procured a bogus prosecution based upon material misstatements of fact / fraudulent
police reports regarding; and falsely and maliciously accusedDOIRON of various acts to
show that DOIRON had committed a crime.

82. Said police reports authored by BAEK and DOES 1 to 3, inclusive, also

contained material misrepresentations of facts and material omission of facts upon which

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the Orange County District Attorney’s Office relied,in large part, in deciding to file and
to maintain the criminal prosecution against DOIRON.

83. Moreover, as shown above, none of said defendants had probable cause to
believe that DOIRON had committed a crime.

84. Moreover, said criminal action was procured by said defendants with malice.

85. Moreover, as California does not provide for any remedy for an aggrieved
malicious prosecution victim to sue a public employee for the filing and/or procurement
of a bogus criminal action, pursuant to Parralt v. Taylor, 451 U.S. 527 (1981), the actions
of said defendants constituted a violation of the Fourth, Ninth and Fourteenth
Amendments to the United States Constitution.

86. As a direct and proximate result of the actions of defendants as complained
of herein, Plaintiff: 1) was substantially physically, mentally and emotionally injured, 2)
incurred medical and psychological costs bills and expenses 3) lost the use and
possession of her real and personal property and 4) incurred other special and general
damages and expenses including attorney’s fees and associated costs; all in an amount to
be proven at trial which is in excess of $5,000.000.00.

87. The actions of defendants as complained of herein, were committed
maliciously, oppressively and/or in reckless disregard of plaintiff s constitutional rights
sufficient for an award of punitive / exemplary damages against all defendants save for

defendant CITY, in an amount to be proven at trial which is in excess of $5,000,000.00.

COMPLAINT FOR DAMAGES
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FIFTH CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
FEDERAL CLAIM FOR FAILURE TO PROPERTY TRAIN AND FOR
FAILURE TO PROPERLY HIRE / FIRE / DISCIPLINE
(Against Defendants 7 through 10, Inclusive, and CITY)

88. Plaintiffs hereby reallegeand incorporate by reference the allegations set
forth in paragraphs 1 through 87, inclusive, above, as if set forth in full herein.

89. As complained of herein above, the acts of defendants BAEK, CHOE and
DOES 1 through 7, deprived Plaintiffs of their rights under the laws of the United States
and The United States Constitution.

90. The training policies of CITY were not adequate to train its police officer
employees to properly and lawfully handle situations similar to the one they were
presented with when they confronted Plaintiffs

91. CITY was deliberately indifferent to the obvious consequences of its failure
to train itspolice officer employees adequately.

92. The failure of ClTY to provide adequate training caused the deprivation of
Plaintiffs’ rights by DefendantsBAEK, CHOE and DOES 1 through 7, inclusive

93. CITY’s failure to train is closely related to the deprivation of Plaintiffs’
rights as to be the moving force that ultimately caused Plaintiffs’ injuries

94. As a direct and proximate result of the actions of defendants and each of

them, as complained of herein, Plaintiffs l) were substantially physically, mentally and

emotionally injured; 2) incurred medical and psychological costs bills and expenses 3)

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and incurred other special and general damages including attorney’s fees investigator
fees and associated litigation costs and expenses all in an amount to be proven at trial in
excess of $5,()00,000.00.

95. The actions of said defendants and each of them, as complained of herein,
were committed maliciously, oppressively and in reckless disregard of Plaintiffs’
constitutional rights sufficient for an award of punitive / exemplary damages against
defendants DOES 7 through 10, inclusive, in an amount to be proven at trial which is in
excess of $5,000,000.00.

SIXTH CAUSE OF ACTION
[VIOLATION OF 42 U.S.C. § 1983]
Claim Against Local Governing Body Defendants Based On
Off`icial Policy, Practice, Or Custom
(Against Defendant CITY)

96. Plaintiffs hereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 95 inclusive, above, as if set forth in full herein.

97. As shown above, the actions of defendantsBAEK, CHOE and DOES 1
through 3j inclusive, deprived the plaintiffs of their particular rights under the United
States Constitution, as described above.

98. At all times complained of herein, defendants BAEK and DOES l through
3, inclusive, were acting pursuant to the policies customs usages and practices of the

Santa Ana Police Department / defendantClTY: l) for unlawfully seizing persons 2) for

falsely arresting and falsely imprisoning persons 3) for unlawfully seizing property; 4)

COMPLAINT FOR DAMAGES
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for extorting persons 5) for fabricating / destroying / concealing / altering evidence in
criminal and civil actions and for otherwise “framing” persons in criminal actions in
order to falsely and maliciously, oppressively convict innocent persons to protect them
and other police officers and supervisory personnel from civil, administrative and
criminal liability; 6) for interfering with persons’ and/or otherwise violating persons’
constitutionally protected right to free speech; 7) for covering-up unlawful and tortious
conduct by Santa AnaPolice Department personnel and were a proximate cause of the
very same federal constitutional violations complained of below by the plaintiffs in this
action.

99. Said actions of said defendants were done by them under the color of state
law.

100. As a proximate result of said defendants acting pursuant to said policies
customs usages and practices of defendantCITY, above-described, said defendants
committed said actions complained of above.

101. As a direct and proximate result of the actions of defendants ClTY, as
complained of herein, plaintiffs 1) were substantially physically, mentally and
emotionally injured, and great physical, mental and emotional pain, suffering and
distress 2) incurred medical and psychological costs bills and expenses 3) incurred lost
profits and wages and 4) incurred other special and general damages and expenses in an

amount to be proven at trial, which is in excess of $5,000,000.00.

COMPLAINT FOR DAMAGES
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SEVENTH CAUSE OF ACTION
Violation of Cal. Civil Code § 52.1
Under California State Law
(Against CHOE, DOES 4 through 7, inclusive and Penske Corporation, Inc., Penske
Automotive Group, Inc., Penske Vehicle Services, Inc. and CREVIER)

102. Plaintiffs hereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 101, inclusive, above, as if set forth in full herein.

103. The actions of defendants CHOE and DGES 4 through 7, inclusive, as
complained of herein, interfered with, and/or attempted to interfere with, by use of
threats intimidation, and coercion, the exercise or enjoyment by plaintiffs of the rights
secured to them by the Constitution and laws of the United States and of the rights
secured to them by the California Constitution and otherwise by California law, in
violation of California Civil Code §52.1.

104. Defendants CHOE and DOES 3 through 7, inclusive, are liable to plaintiffs
for said violations of their constitutional rights, pursuant to California Civil Code §52. 1,
and California Government Code §§815.2(a), 815.6, 820, 820.8.

105. As a direct and proximate result of the actions of defendants CHOE and
DOES 3 through 7, inclusive, as complained of herein, Plaintiffs 1) were substantially
physically, mentally and emotionally injured, and endured great physical, mental and
emotional pain and suffering; 2) incurred medical and psychological costs bills and

expenses and 3) incurred other special and general damages and expenses in an amount to

be proven at trial, in excess of $5,000,000.00.

COMPLAINT FGR DAMAGES
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106. The actions of defendants CHOE and DOES 4 through 7, inclusive, as
complained of herein, were committed maliciously, oppressively and/or in reckless
disregard of Plaintiffs’ constitutional rights sufficient for an award of punitive /
exemplary damages against CHOE, DOES 4 through 7, inclusive and Penske
Corporation, Inc., Penske Automotive Group, Inc., Penske Vehicle Services, lnc. and
CREVIER, in an amount to be proven at trial, in excess of $5,000,000.00.

107. ln addition, as a result of the actions of defendants CHOE and DOES 4
through 7, inclusive, as complained of herein, constituted a violation of California Civil
Code § 52.1, and, therefore, plaintiffsare entitled to an award of treble compensatory
damages against all defendants and each of them.

EIGHTH CAUSE ()F ACTION
False Arrest / False Imprisonment
Under California State Law
(Against CHOE, DOES 4 through 7, inclusive and Penske Corporation, Inc., Penske
Automotive Group, Inc., Penske Vehicle Services, Inc. and CREVIER)

108. Plaintiffs hereby reallege and incorporate by reference the allegations set
forth in paragraphs l through 107, inclusive, above, as if set forth in full herein.

109. Defendants CHOE and DOES 4 through 7, inclusive, did not have probable
cause to believe that DOIRON had committed a crime.

1 lO_ Defendants CHOE and DOES 4 through 7, inclusive, restrainedj brutalized

and deprived DOIRON of his liberty by conspiring with Defendants BAEK and DOES l

through 3, inclusive

COMPLAINT FOR DAMAGES
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111. Defendants CHOE and DOES 4 through 7, inclusive, intentionally deprived
DOIRON of his freedom of movement by use of physical force and violence.

112. DOIRON did not consent to said deprivation of his freedom of movement by
Defendants CHOE and DOES 4 through 7, inclusive, or to the use of force and violence
upon him.

113. DOIRON suffered harm because of said deprivation of his freedom of
movement by Defendants CHOE and DOES 4 through 7, inclusive.

114. The actions committed by Defendants CHOE and DOES 4 through 7,
inclusive, as complained of herein, constituted a false arrest / false imprisonment of
DOIRON under California state law.

115. DefendantsCHOE and DC)ES 4 through 7, inclusive, are liable to DOIRON
for said false arrest / false imprisonment, pursuant to Cal. Government Code §§ 815.2(a),
815.6, 820, 820.2, 820.8, and otherwise pursuant to the common-law.

1 16. The actions committed by Defendants CHOE and DOES 4 through 7,
inclusive, as complained of herein, proximately caused DOIRON to suffer substantial
physical injuries severe mental and emotional distress and suffering, medical /
psychological bills costs and expenses and other costs and expenses in an amount to be
proven at trial which is in excess of $5,000,000.00.

1 l7. The actions of Defendants CHOE and DOES 4 through 7, inclusive, were

committed maliciously, oppressively and constituted despicable conduct, sufficient for an

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award of punitive / exemplary damages against CHOE, DOES 4 through 7, inclusive and
Penske Corporation, Inc., Penske Automotive Group, Inc., Penske Vehicle Services lnc.
and CREVIER, in an amount to be proven at trial which is in excess of $5,000,000.00.
NINTH CAUSE OF ACTION
Intentional Ini]iction Of Emotional Distress
Under California State Law
(Against CHOE, DOES 4 through 7, inclusive and Penske Corporation, Inc., Penske

Automotive Group, Inc., Penske Vehicle Services Inc. and CREVIER)

118. Plaintiff hereby reallege and incorporate by reference the allegations set
forth in paragraphs 1 through 117, inclusive, above, as if set forth in full herein.

119. Defendants CHOE and DOES 4 through 7, inclusive, knew and/or should
have known that Plaintiffs were susceptible to suffering severe emotional distress from
the actions taken and committed against Plaintiffs as complained of herein.

120. The actions committed by Defendants CHOE and DOES 4 through 7,
inclusive, during theincident as complained of herein, were malicious oppressive, and/or
in reckless disregard for Plaintiffs’ constitutional rights was despicable and of such an
outrageous nature as to be shocking to the conscience

121. The actions of Defendants CHOE and DOES 4 through 7j inclusive, as

complained of herein, committed against Plaintiffs directly and proximately caused

Plaintiffs to suffer severe emotional distress

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122. Defendants and each of them, are liable to Plaintiffs for said intentional
infliction of emotional distress pursuant to California state law, and otherwise pursuant to
the common-law.

123. As a direct and proximate result of the actions of DefendantsCHOE and
DOES 4 through 7, inclusive, as complained of herein, Plaintiffs: 1) were substantially
physically, mentally and emotionally injured; 2) incurred medical and psychological
costs bills and expenses and 3) incurred other special and general damages and expenses
in an amount to be proven at trial which is in excess of $5,000,000.00.

124. The actions committed by Defendants CHOE and DOES 4 through 7,
inclusive, as complained of herein, were malicious oppressive and constituted despicable
conduct, sufficient for an award of punitive / exemplary damages against CHOE, DOES
4 through 7, inclusive and Penske Corporation, lnc., Penske Automotive Group, Inc.,
Penske Vehicle Services lnc. and CREVIER, in an amount to be proven at trial which is
in excess of $5,000,000.00.

TENTH CAUSE OF ACTION
Negligence
Under California State Law

(Against CHOE, DOES 4 through 7, inclusive and Penske Corporation, Inc., Penske
Automotive Group, Inc., Penske Vehicle Services Inc. and CREVIER)

 

125. Plaintiffs hereby realleges and incorporate by reference the allegations set

forth in paragraphs l through 124, inclusive, above, as if set forth in full herein.

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126. Defendant Penske Corporation, Inc., Penske Automotive Group, Inc.,
Penske Vehicle Services lnc. and CREVIERknew, and/or with the exercise of reasonable
diligence should have known, of the unlawful propensities of Defendants CHOE and
DOES 4 through 7, inclusive, who conspired to have the plaintiffs unlawfully arrested,
unlawfully seized property, extorted the plaintiffs and humiliated Plaintiffsas complained
of herein.

127. Moreover, the actions committed by Defendants CHOE and DOES 4
through 7, inclusive, as complained of herein and as described above, also constituted a
breach of defendants’ duty to use due care toward Plaintiffs

128. Moreover, defendant Penske Corporation, Inc., Penske Automotive Group,
Inc., Penske Vehicle Services lnc. and CREVIERbreached its duty of care owed to the
Plaintiffs and to members of the public similarly situated, by failing to train its
employees / agents that they have no right to falsely arrested persons unlawfully seize
property and extort persons

129. As a direct and proximate result of the actions committed by Defendants
Penske Corporation, Inc., Penske Automotive Group, lnc., Penske Vehicle Services lnc.
and CREVIER, CHOE and DOES 4 through 7, inclusive, as complained of herein,
Plaintiffs l) were substantially physically, mentally and emotionally injured; 2) incurred

medical and psychological costs bills and expenses and 3) incurred other special and

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general damages and expenses in an amount to be proven at trial, which is in excess of
$5,000,000.00.
TWELFTHCAUSE OF ACTION
Extortion
Under California State Law
(Against CHOE, DOES 4 through 7, inclusive and Penske Corporation, Inc., Penske

Automotive Group, Inc., Penske Vehicle Services Inc. and CREVIER)

130. Plaintiffs hereby realleges and incorporate by reference the allegations set
forth in paragraphs 1 through 129, inclusive, above, as if set forth in full herein.

131. Defendants CHOE and Does 4 through 7, inclusive, procured $1,500 from
DORIAN by extorting him with threat of arrest.

132. DORIAN paid the extorted $1,500 out of fear of arrest, imprisonment and
humiliation.

133. Defendants’ threats of arrest for crimes they knew DORIAN and
PETERSON did not commit unless they paid the $1,500 constitutes extortion under Cal.
Penal Code § 518.

134. As a result of the Defendants’ extortion, Plaintiffs have suffered and will
continue to suffer

135. As a direct and proximate result of the actions Defendants CH()E and DOES

4 through 7, inclusive, as complained of herein, Plaintiffs 1) were substantially

physically, mentally and emotionally injured; 2) incurred medical and psychological

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costs bills and expenses and 3) incurred other special and general damages and expenses
in an amount to be proven at trial which is in excess of 85,000,000.00.

136. The actions committed by Defendants CHOE and DOES 4 through 7,
inclusive, as complained of herein, were malicious oppressive and constituted despicable
conduct, sufficient for an award of punitive / exemplary damages against CHOE, DOES
4 through 7, inclusive and Penske Corporation, Inc., Penske Automotive Group, Inc.,
Penske Vehicle Services lnc. and CREVIER, in an amount to be proven at trial which is
in excess of $5,000,000.00.

WHEREFORE, plaintiffs pray for judgment as follows

a) For a judgment against all defendants for compensatory damages in an
amount in excess of $5,000,000.00;

b) For a judgment against all defendants save defendant ClTY, for punitive
damages in an amount in excess of $5,()()0,000.00;

c) For an award of reasonable attorney’s fees and costs

d) For a trial by jury; and

e) For such other and further relief as this honorable court deems just and

equitable

 

 

 

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